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 From:              Margaret Bray
 To:                Lowell, Abbe
 Cc:                bdalton                ; Kolansky, David A.
 Subject:           Re: DE Sentencing Date
 Date:              Sunday, September 15, 2024 2:12:23 PM




 Thank you, Mr. Lowell. That would be very helpful. I believe we’re also still waiting for the
 financial paperwork as well.

 Margi Bray
 Sent from my iPhone


        On Sep 15, 2024, at 11:49 AM, Lowell, Abbe                                      wrote:



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        Ms. Bray,

        Last week, I wrote the Special Counsel to ask their view of extending the sentencing
        date for a few weeks to the end of November or early December. I provided them the
        reasons, ranging from the things we are doing to submit in Delaware and now
        California, the unavailability because of government work and the campaign of people
        for whom we want to get letters, numerous work/deadlines in other cases (some of
        which are Mr. Biden’s), holidays, and a pre-trial conference I have in California on
        November 12. I have not heard back from them yet. I wanted to let you know because
        it might also then allow for a bit more time in various things on which you are working.
        I plan to follow up with the SCO this week and file something with the Court.



            Abbe David Lowell
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            Co-Chair, Government Investigations,
            Enforcement, and Compliance
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